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 4                               UNITED STATES DISTRICT COURT

 5                            EASTERN DISTRICT OF WASHINGTON
 6 UNITED STATES OF AMERICA,
                                                        No.   CR-2:13-CR-6070-WFN-1
 7                   Plaintiff,
                                                        ORDER
 8         -vs-
 9 KENNETH RICHARD ROWELL,
10                               Defendant.
11
12         An expedited first pretrial conference and motion hearing was held January 13,
13   2014. The Defendant, who is in custody, was present and represented by Rick Hoffman;
14   Assistant United States Attorney Shawn Anderson represented the Government in place of
15   Alexander Ekstrom.        The Court addressed pending pretrial motions. The Court has
16   reviewed the file and Defendant's Motions and is fully informed. This Order is entered to
17   memorialize and supplement the oral rulings of the Court. Accordingly,
18         IT IS ORDERED that:
19         1. Defendant's Motion to Continue Pretrial and Trial and Extend Deadline to File
20   Pretrial Motions, filed January 9, 2014, ECF No. 34, is GRANTED.
21                The Court finds that the ends of justice served by the granting of a continuance
22   of the trial in this matter outweigh the best interests of the public and the Defendant in a
23   speedy trial. A trial date of February 10, 2014 would unreasonably deny Defendant the
24   opportunity to review discovery, file appropriate pretrial motions, investigate the charges
25   against him, and to benefit from effective assistance of counsel, taking into account the
26   exercise of due diligence. 18 U.S.C. § 3161(h)(7).
27         2. The original trial date of February 10, 2014, is STRICKEN and RESET to
28   March 17, 2014, at 1:30 p.m., in Yakima, Washington.



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 1              3. All time from the trial date of February 10, 2014, to the new trial date of
 2   March 17, 2014, is EXCLUDED for speedy trial calculations pursuant to 18 U.S.C.
 3   § 3161(h)(7). Defendant executed a waiver of speedy trial rights.
 4              4. The final pretrial conference and motion hearing is STRICKEN and RESET to
 5   March 17, 2014, at 11:00 a.m., in Yakima, Washington.
 6              5. All time from the filing of Defendant's Motion to Continue on January 9, 2014,
 7   to the date of the hearing on January 13, 2014, is EXCLUDED for speedy trial
 8   calculations pursuant to 18 U.S.C. § 3161(h)(1)(D).
 9              6. An additional pretrial conference and motion hearing shall be held February 24,
10   2014, at 11:00 a.m., in Yakima, Washington.
11                 (a) All additional motions shall be filed and served no later than February 10,
12   2014.
13                 (b) Responses shall be filed and served no later than February 18, 2014.
14              7. Defendant's Motion to Expedite Hearing, filed January 9, 2014, ECF No. 35, is
15   GRANTED. The underlying Motion to Continue was considered on an expedited basis.
16              The District Court Executive is directed to file this Order and provide copies to
17   counsel.
18              DATED this 13th day of January, 2014.
19
20                                                  s/ Wm. Fremming Nielsen
21                                                    WM. FREMMING NIELSEN
     01-13-14                                  SENIOR UNITED STATES DISTRICT JUDGE
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